              Case 2:08-cr-00543-KJM Document 250 Filed 06/25/10 Page 1 of 3


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 5
     Attorney for Defendant
 6   Jimmy Hung Au
 7                               UNITED STATES DISTRICT COURT
 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                      )   Case No.: Cr.S-08-0543-GEB
                                                    )
11                 Plaintiff,                       )   DECLARATION OF JAN DAVID
                                                    )   KAROWSKY IN SUPPORT OF
12          vs.                                     )   REQUEST FOR EXONERATION OF
                                                    )   BOND
13   Jimmy Hung Au,                                 )
                                                    )   ORDER EXONERATING BOND
14                 Defendant                        )
                                                    )
15                                                  )
                                                    )
16                                                  )
17

18          I, Jan David Karowsky, do hereby declare:
19          I am the attorney of record for Defendant, Jimmy Hung Au, in the above-entitled case.
20          Defendant, pursuant to previous order of the Court, surrendered to the custody of the
21   Bureau of Prisons at Atwater, California on June 11, 2010 and is currently in custody pursuant to
22   the Court's previously ordered sentence. Judgment was returned as “executed” on June 21, 2010.
23          I am informed and believe and thereon allege that bail in the above-entitled matter has
24   not been exonerated pursuant to Federal Rules of Criminal Procedure, Rule 46(g).
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 1          Bail had been previously set in the amount of $270,000.00 and was secured by a deed of
 2   trust on real property.
 3          I am informed and believe and thereon allege that there was no forfeiture of any of the
 4   bail in this matter and all conditions for exoneration of the real property pledged in this matter
 5   have been met. Therefore, I hereby request the Court exonerate the bond and order that
 6   reconveyance be undertaken forthwith on the below described piece of real property:
 7          Lot 14, Inclusive, of “Northborough II, Village 7, Unit 1”, Filed in the office of the
 8   Recorder of Sacramento County, California, on November 30, 2001, in Book 292 of Maps, at
 9   Page 11, APN 201-0530-014-0000.
10          Said real property is owned by David Au and Erica Luc, husband and wife, as Joint
11   Tenants.
12          I declare under penalty of perjury that the foregoing is true and correct and that this
13   Declaration was executed on June 24, 2010 at Sacramento, California.
14

15                                                          /s/ Jan Karowsky
                                                            Jan David Karowsky
16                                                          Attorney for Defendant
                                                            Jimmy Hung Au
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              Case 2:08-cr-00543-KJM Document 250 Filed 06/25/10 Page 3 of 3


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 8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   United States of America,            ) Case No.: Cr.S-08-0543-GEB
                                          )
10                Plaintiff,              )
                                          ) ORDER EXONERATING BOND
11         vs.                            )
                                          )
12   Jimmy Hung Au,                       )
                                          )
13                Defendant               )
                                          )
14                                        )
                                          )
15                                        )
           IT IS HEREBY ORDERED that the appearance bond posted by David Au and Erica
16
     Luc, husband and wife, as Joint Tenants, and secured by a Deed of Trust to real property located
17
     in the County of Sacramento, in the above-entitled matter, in the amount of $270,000.00 is
18

19   hereby exonerated; the Clerk of this Court forthwith shall provide a Deed of Reconveyance of

20   the Sacramento County property securing the bond to the sureties/trustors at the following

21   mailing address: David Au and Erica Luc, 5508 Hoyt Street, Sacramento, CA 95835.

22   Dated: 6/25/10

23
                                              GARLAND E. BURRELL, JR.
24                                            United States District Judge
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